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                                                                        .EASTERN DISTRICT R
                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION       JAMES                                               K
                                                                      By:_---r"""~l-9--~~~=
DYLAN BRANDT, by and through his mother, Joanna
Brandt; JOANNA BRANDT; SABRINA JENNEN, by and
through her parents, Lacey and Aaron Jennen; LACEY JENNEN;
AARON JENNEN; BROOKE DENNIS, by and through her
parents, Amanda and Shayne Dennis; AMANDA DENNIS;
SHAYNE DENNIS; PARKER SAXTON, by and through his
father, DONNIE SAXTON; DONNIE SAXTON;
MICHELE HUTCHISON, on behalf of herself and her patients;
and KATHRYN STAMBOUGH, on behalf of herself and her patients


v.                                  Case No.   I/. '.2/av¥S,e;- -TAI{
LESLIE RUTLEDGE, in her official capacity as the Arkansas                     DEFENDANTS
Attorney General; AMYE. EMBRY, in her official capacity
as the Executive Director of The Arkansas State Medical Board;
and SYLVIA D. SIMON, ROBERT BREVING JR., VERYL D.
HODGES, JOHN H. SCRIBNER, ELIZABETH ANDERSON,
RHYS L. BRANMAN, EDWARD "WARD" GARDNER,
RODNEY GRIFFIN, BETTY GUHMAN, BRIANT. HYATT,
TIMOTHY C. PADEN, DON R. PHILIPS, WILLIAM L.
RUTLEDGE, and DAVID L. STAGGS, in their official capacity
as members of the Arkansas State Medical Board


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF



       Plaintiffs, by and through their attorneys, bring this Complaint against the above-named



following:

I.     PRELIMINARY STATEMENT
                                                       This case assigned to District~Ju
                                                       and to Magistrate Judge      ~
                                                                                           jm~
Defendants, their employees, agents, and successors in office, and in support thereof state the


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       1.      On April 6, 2021 , the Arkansas General Assembly passed HB 1570, enacted as Act

626 (hereafter the "Health Care Ban"), overriding Governor Asa Hutchinson's veto of the bill

within 24 hours and banning the provision of medically necessary and potentially lifesaving
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healthcare to transgender adolescents.      The law was passed over the sustained and robust

opposition of medical experts in Arkansas and across the country. The law could be enforced as

soon as July 28, 2021. 1

       2.       Since long before the adoption of the Health Care Ban, there has been a well-

established medical consensus that certain medical treatments are necessary to treat some

adolescents diagnosed with gender dysphoria-a medical and mental health condition

characterized by clinically significant distress caused by an incongruence between a person's

gender identity and the sex they were assigned at birth. Medical guidelines recognized by all the

major medical associations provide a framework for the safe and effective treatment of this

condition. For some adolescent patients with gender dysphoria, puberty-delaying treatment and

hormone therapy are medically indicated to alleviate severe distress. Chest reconstruction surgery

may be medically necessary for some older adolescents.

       3.       The Health Care Ban, by prohibiting any medical treatment "related to gender

transition," denies adolescents medically necessary treatment and prevents parents from obtaining

medically necessary care for their children. It further prohibits doctors from treating their patients

in accordance with the well-established standards of care or from referring patients to other doctors

to receive the appropriate care.




       Under the Arkansas Constitution, Acts of the General Assembly without an emergency
       clause or specified effective date, like HB 1570, become effective ninety (90) days after
       adjournment of the session where enacted. The General Assembly did not adjourn the
       2021 session; instead, the legislature took extended recess under HCR 1015, stating,
       "should the General Assembly remain in extended recess for longer than ninety (90)
       days, all acts that do not contain an emergency clause or a specific effective date shall
       become effective on the 91st day following April 30, 2021." On May 20, 2021, Attorney
       General Leslie Rutledge issued Opinion No. 2021-029, which opines that "unless the
       General Assembly reconvenes on or before July 27, 2021, acts with no emergency clause
       or specified effective date become effective on July 28, 2021."

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        4.           While the Health Care Ban purports to protect young people from alleged risks

associated with the prohibited care, all of the medical care prohibited by the Health Care Ban is

permitted for any reason except to affirm a gender identity that differs from a patient' s sex assigned

at birth.

        5.           After the General Assembly first passed the Health Care Ban on March 29, 2021 ,

Governor Hutchinson vetoed the bill, calling it "overbroad," "extreme," and "a vast government

overreach." He said the legislation interfered with "the guiding hand" of both parents and the

healthcare professionals they have chosen to care for their children. He also expressed concern

that, if passed, the bill would lead to significant harm to transgender youth as cautioned by

healthcare experts.

            6.       If the Health Care Ban goes into effect, it will have devastating consequences for

transgender youth in Arkansas. These young people will be unable to obtain medical care that

their doctors and parents agree they need-and those already receiving care will have their

treatment abruptly halted-which could have serious and potentially life-threatening

consequences. For some transgender youth, the prospect of losing this critical medical care, even

before the legislation is in effect, is unbearable. In the weeks after the bill passed, at least six

transgender adolescents in Arkansas attempted suicide.

            7.       Some parents of trans gender children are making plans to move out of state should

the law take effect out of fear for their children's health and safety if they are unable to get

necessary medical treatment. They may have to leave their jobs, businesses, extended families,

and communities to get the treatment their children need. These families have already lived

through the impact of untreated gender dysphoria on their children and have seen how treatment

has enabled them to thrive. As one father put it, "We can't go back." But many families do not



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have the resources to uproot their lives and they are terrified about what will happen to their

children if the law takes effect.

        8.       The Health Care Ban not only threatens the health and well-being of transgender

youth in Arkansas, it is also unconstitutional. It violates the Equal Protection Clause of the

Fourteenth Amendment because it discriminates on the basis of sex and transgender status by

prohibiting certain medical treatments only for transgender patients and only when the care is

"related to gender transition." This discrimination cannot be justified under heightened scrutiny

or any level of equal protection scrutiny.     In addition, by preventing parents from seeking

appropriate medical care for their children when the course of treatment is supported by the child

and their doctor, the Health Care Ban interferes with the right to parental autonomy guaranteed by

the Due Process Clause of the Fourteenth Amendment. Lastly, the Health Care Ban violates the

First Amendment by prohibiting healthcare providers from referring their patients for medical

treatments that are in accordance with the accepted medical standards of care to treat gender

dysphoria.

II.     THE PARTIES

        A.       The Minor Plaintiffs and Their Families 2

                 1.     The Brandt F amity

        9.       Plaintiffs Dylan Brandt and Joanna Brandt live in Greenwood, Arkansas. Joanna

is the mother of Dylan, who is 15. Dylan is trans gender and is currently receiving medically




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        The Minor Plaintiffs sue by and through their parents, pursuant to Federal Rule of Civil
        Procedure l 7(c).


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necessary care that would be prohibited by the Health Care Ban. The Brandts are pictured here.




              2.      The Jennen Family

       10.    Plaintiffs Sabrina Jennen, Lacey Jennen, and Aaron Jennen live in Fayetteville,

Arkansas. Lacey and Aaron are the parents of Sabrina, who is 15. Sabrina is trans gender and is

currently receiving medically necessary care that would be prohibited by the Health Care Ban.

The Jennens are pictured here. Sabrina is second from left.




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               3.      The Dennis Family

       11 .    Plaintiffs Brooke Dennis, Amanda Dennis, and Shayne Dennis live in Bentonville,

Arkansas. Amanda and Shayne are the parents of Brooke, who is 9. Brooke is transgender. Once

she begins puberty, which could be at any time, Brooke's parents, with the advice of her doctors,

intend to have her begin receiving medical care that would be prohibited by the Health Care Ban.

The Dennises are pictured here. Brooke is on the far right.




               4.      The Saxton Family

       12.     Plaintiffs Parker Saxton and Donnie Saxton live in Conway, Arkansas. Donnie is

the father of Parker, who is 16. Parker is trans gender and this month will begin receiving medically

necessary care that would be prohibited by the Health Care Ban. The Saxtons are pictured here.




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       B.      Doctor Plaintiffs

               1.      Dr. Michele Hutchison

       13.     Plaintiff Dr. Michele Hutchison is a pediatric endocrinologist and Associate

Professor in the Department of Pediatrics, College of Medicine at the University of Arkansas for

Medical Sciences. She has been working at the Gender Spectrum Clinic at Arkansas Children's

Hospital (the "Clinic") since its inception in February, 2018. Dr. Hutchison provides gender-

affirming care that would be prohibited by the Health Care Ban. She is bringing her claims in her

individual capacity on behalf of herself and her patients.

               2.      Dr. Kathryn Stambough

       14.     Plaintiff Dr. Kathryn Stambough is a doctor in the Division of Pediatric and

Adolescent Gynecology in the Department of Obstetrics and Gynecology at the University of

Arkansas for Medical Sciences. Her clinic is part of Arkansas Children's Hospital. Dr. Stambough

refers patients at her clinic to other doctors who provide gender-affirming care, which would be

prohibited by the Health Care Ban. In addition, Dr. Stambough works at the Gender Spectrum


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Clinic one day each month. When she is at the Clinic, Dr. Stambough provides gender-affirming

care that would be prohibited by the Health Care Ban. She is bringing her claims in her individual

capacity on behalf of herself and her patients.

       C.      Defendants

        15.    Defendant Leslie Rutledge is the Attorney General of the State of Arkansas. The

Attorney General's offices are located at 323 Center Street, Suite 200, Little Rock, Arkansas.

Under the Health Care Ban, Defendant Rutledge is tasked with bringing legal actions to enforce

compliance with that law. Defendant Rutledge is sued in her official capacity.

        16.    Defendant Amy E. Embry is the Executive Director of The Arkansas State Medical

Board (the "Medical Board"). The Medical Board is an agency of the State of Arkansas with the

power to license physicians and revoke physicians' licenses, among other things. Under the Health

Care Ban, the Medical Board is charged with disciplining individuals within its licensing

jurisdiction who violate the provisions of that law. The Medical Board is located at 1401 West

Capitol Avenue, Suite 340, Little Rock, Arkansas. Defendant Embry is sued in her official capacity.

        17.    Defendants Sylvia D. Simon, Robert Breving Jr., Veryl D. Hodges, John H.

Scribner, Elizabeth Anderson, Rhys L. Branman, Edward "Ward" Gardner, Rodney Griffin, Betty

Guhman, Brian T. Hyatt, Timothy C. Paden, Don R. Philips, William L. Rutledge, and David L.

Staggs (all, together with Defendant Embry, the "Medical Board Defendants") are members of the

Medical Board. The Medical Board Defendants are sued in their official capacity.

III.   JURISDICTION AND VENUE

        18.    This action arises in part under the United States Constitution, 42 U.S.C. § 1983.

        19.    This Court has subject matter jurisdiction pursuant to Article III of the United States

Constitution and 28 U.S.C. §§ 1331, 1343, and 1367.



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        20.     This Court is authorized to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

        21.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(1)(2), because one

or more of the defendants resides in this district and because a substantial part of the events giving

rise to the claims occurred in this district.

IV.     FACTUAL BACKGROUND

        A.      Standards of Care for Treating Adolescents with Gender Dysphoria

        22.     Doctors in Arkansas use well-established guidelines to diagnose and treat youth

with gender dysphoria.

        23.     "Gender identity" refers to a person's internal, innate, and immutable sense of

belonging to a particular gender.

        24.     Although the precise origin of gender identity is unknown, a person's gender

identity is a fundamental aspect of human development. There is a general medical consensus that

there is a significant biological component to gender identity.

        25.     Everyone has a gender identity. A person's gender identity is durable and cannot

be altered through medical intervention.

        26.     A person's gender identity usually matches the sex they were designated at birth

based on their external genitalia. The terms "sex designated at birth" or "sex assigned at birth" are

more precise than the term "biological sex" because there are many biological sex characteristics

and they may not align with each other in a single direction. For example, some people with

intersex characteristics may have a chromosomal configuration typically associated with a male

sex designation but genital characteristics typically associated with a female sex designation. For

these reasons, the Endocrine Society, an international medical organization of over 18,000



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endocrinology researchers and clinicians, warns practitioners that the terms "biological sex" and

"biological male or female" are imprecise and should be avoided.

        27.     Most boys were designated male at birth based on their external genital anatomy,

and most girls were designated female at birth based on their external genital anatomy. But

transgender children have a gender identity that differs from the sex assigned to them at birth. A

transgender boy is someone who was assigned a female sex at birth but persistently, consistently,

and insistently identifies as male. A transgender girl is someone who was assigned a male sex at

birth but persistently, consistently, and insistently identifies as female.

        28.     Gender identity is deeply rooted in early life. Some transgender people become

aware of having a gender identity that does not match their assigned sex early in childhood. For

others, the onset of puberty, and the resulting physical changes in their bodies, leads them to

recognize that their gender identity is not aligned with their sex assigned at birth.

        29.     The lack of alignment between one's gender identity and their sex assigned at birth

can cause significant distress.

        30.     According the American Psychiatric Association's Diagnostic & Statistical Manual

of Mental Disorders ("DSM-V''), "gender dysphoria" is the diagnostic term for the condition

experienced by some transgender people of clinically significant distress resulting from the lack of

congruence between their gender identity and the sex assigned to them at birth. In order to be

diagnosed with gender dysphoria, the incongruence must have persisted for at least six months and

be accompanied by clinically significant distress or impairment in social, occupational, or other

important areas of functioning.




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       31.      Being transgender is not itself a medical condition to be cured. But gender dysphoria

is a serious medical condition that, if left untreated, can result in debilitating anxiety, severe

depression, self-harm, and suicide.

        32.     The World Professional Association for Transgender Health ("WPATH") and the

Endocrine Society have published widely accepted standards of care for treating gender dysphoria.

The medical treatment for gender dysphoria is to eliminate the clinically significant distress by

helping a transgender person live in alignment with their gender identity. This treatment is sometimes

referred to as "gender transition," "transition-related care," or "gender-affirming care." These

standards of care are recognized by the American Academy of Pediatrics, which agrees that this care

is safe, effective, and medically necessary treatment for the health and well-being of youth suffering

from gender dysphoria.

        33.     The precise treatment for gender dysphoria depends upon each person's

individualized needs, and the medical standards of care differ depending on whether the treatment is

for a pre-pubertal child, an adolescent, or an adult.

        34.     Before puberty, gender transition does not include any pharmaceutical or surgical

intervention and is limited to "social transition," which means allowing a transgender child to live

and be socially recognized in accordance with their gender identity. Typically, social transition can

include allowing children to wear clothing, to cut or grow their hair, to use preferred names and

pronouns, and to use restrooms and other sex-separated facilities in line with their gender identity

instead of the sex assigned to them at birth.

        35.     Under the WPATH Standards of Care and the Endocrine Society Clinical Guidelines,

medical interventions may become medically necessary and appropriate as transgender youth reach

puberty. In providing medical treatments to adolescents, pediatric endocrinologists work in close



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consultation with qualified mental health professionals experienced in diagnosing and treating gender

dysphoria.

       36.        For many transgender adolescents, going through puberty in accordance with the sex

assigned to them at birth can cause extreme distress. Puberty-delaying medication allows transgender

adolescents to avoid this, therefore minimizing and potentially preventing the heightened gender

dysphoria and permanent physical changes that puberty would cause.

        37.       Under the Endocrine Society Clinical Guidelines, transgender adolescents may be

eligible for puberty-delaying treatment if:

        •         A qualified mental health professional has confirmed that:

              o          the adolescent has demonstrated a long-lasting and intense pattern of gender
                         nonconformity or gender dysphoria (whether suppressed or expressed);

              o          gender dysphoria worsened with the onset of puberty;

              o          any coexisting psychological, medical, or social problems that could interfere
                         with treatment (e.g., that may compromise treatment adherence) have been
                         addressed, such that the adolescent's situation and functioning are stable
                         enough to start treatment;

              o          has sufficient mental capacity to give informed consent to this (reversible)
                         treatment.

        •         And the adolescent:

              o          has been informed of the effects and side effects of treatment (including
                         potential loss of fertility if the individual subsequently continues with sex
                         hormone treatment) and options to preserve fertility;

              o          has given informed consent and (particularly when the adolescent has not
                         reached the age oflegal medical consent, depending on applicable legislation)
                         the parents or other caretakers or guardians have consented to the treatment
                         and are involved in supporting the adolescent throughout the treatment
                         process.

        •         And a pediatric endocrinologist or other clinician experienced in pubertal assessment:

              o           agrees with the indication for gonadotropin-releasing hormone ("GnRH")
                          agonist treatment;

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                o           has confirmed that puberty has started in the adolescent;

                o           has confirmed that there are no medical contraindications to GnRH agonist
                            treatment.

          38.       Puberty-delaying treatment is reversible.      If an adolescent discontinues the

medication, puberty consistent with their assigned sex will resume.

          39.       For some youth, it may be medically necessary and appropriate to initiate puberty

consistent with the young person's gender identity through gender-affirming hormone therapy

(testosterone for transgender boys, and estrogen and testosterone suppression for transgender

girls).

          40.       Under Endocrine Society Clinical Guidelines, transgender adolescents may be eligible

for gender-affirming hormone therapy if:

    •           A qualified mental health professional has confirmed:

                o           the persistence of gender dysphoria;

                o           any coexisting psychological, medical, or social problems that could interfere
                            with treatment (e.g., that may compromise treatment adherence) have been
                            addressed, such that the adolescent's environment and functioning are stable
                            enough to start sex hormone treatment;

                o           the adolescent has sufficient mental capacity to estimate the consequences of
                            this (partly) irreversible treatment, weigh the benefits and risks, and give
                            informed consent to this (partly) irreversible treatment.

    •     And the adolescent:

                0            has been informed of the partly irreversible effects and side effects of
                             treatment (including potential loss of fertility and options to preserve
                             fertility);

                0            has given informed consent and (particularly when the adolescent has not
                             reached the age of legal medical consent, depending on applicable
                             legislation) the parents or other caretakers or guardians have consented to
                             the treatment and are involved in supporting the adolescent throughout the
                             treatment process.

    •     And a pediatric endocrinologist or other clinician experienced in pubertal induction:


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               o            agrees with the indication for sex hormone treatment;

               o            has confirmed that there are no medical contraindications to sex hormone
                            treatment.

         41.       Adolescents who receive gender-affirming hormones after having received puberty-

delaying treatment never go through puberty in accordance with the sex assigned to them at birth and,

instead, go through puberty that matches their gender identity.

         42.       Pre-pubertal boys and girls are indistinguishable with respect to secondary sex

characteristics. If a pre-pubertal child receives puberty-delaying treatment, they will never develop

the secondary sex characteristics of the sex assigned to them at birth, and when they are provided

hormones in accordance with their gender identity, they will develop only the secondary sex

characteristics that match their gender identity.

         43.       For example, transgender boys treated with puberty-delaying medication and then

gender-affirming hormones, will receive the same amount of testosterone during puberty that non-

transgender boys generate with their gonads or testes. They will develop the phenotypic features of

non-transgender boys such as muscle mass, fat distribution, facial and body hair, and lower vocal

pitch.   Likewise, transgender girls treated with puberty-delaying medication and then gender-

affirming hormones, will receive the same amount of estrogen during puberty that non-transgender

girls generate endogenously. They will develop the same muscle mass, fat distribution, skin and

female hair patterns, and breasts typically associated with non-transgender girls.

         44.       Adolescents who first receive treatment later in puberty and are only treated with

gender-affirming hormone therapy (and not puberty-delaying treatment) also go through a puberty

consistent with their gender identity. However, they will have undergone physical changes associated

with their endogenous puberty that may not be wholly reversed by hormone therapy.




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        45.     Under the WPATH standards of care, transgender young people may also receive

medically necessary chest reconstructive surgeries before the age of majority, provided the young

person has lived in their affirmed gender for a significant period of time. Genital surgery is not

recommended until patients reach the age of majority.

        46.     Medical treatment recommended for and provided to transgender adolescents with

gender dysphoria can substantially reduce lifelong gender dysphoria and can eliminate the medical

need for surgery later in life.

        47.     Providing gender-affirming medical care can be lifesaving treatment and can change

the short- and long-term health outcomes for transgender youth.

        B.      The General Assembly's Passage of the Health Care Ban

        48.     On March 29, 2021, the Arkansas General Assembly passed the Health Care Ban,

prohibiting healthcare professionals from providing "gender transition procedures" to anyone

under 18 or "refer[ ring]" anyone under 18 to any healthcare professional for such procedures. The

law stipulates that healthcare professionals who provide or refer minor patients for such care are

subject to discipline for unprofessional conduct by the appropriate licensing entity or disciplinary

review board, and may be sued by the Attorney General or private parties. The Health Care Ban

also prohibits coverage of gender transition procedures for minors by Medicaid or private

insurance.

        49.     The General Assembly titled the Health Care Ban the "Save Adolescents from

Experimentation (SAFE) Act," despite the fact that the banned medical treatment is part of the

well-established standards of care for the treatment of gender dysphoria in adolescents.

        50.      In passing the law, the General Assembly ignored testimony from Arkansas doctors

about the lifesaving benefits of gender-affirming care to their transgender patients and the

unavoidable grave harm to the health and well-being of transgender youth if they are prohibited

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from receiving this care. This included testimony in the Senate that after the Health Care Ban

passed the House, in just one week, multiple transgender youth were admitted to the emergency

room because of an attempted suicide.

          51.   Not a single doctor with experience treating transgender youth testified in support

of the bill.

          52.   The General Assembly ignored the testimony of transgender people who shared

their painful experiences of depression and suicide attempts prior to receiving treatment for their

gender dysphoria.

          53.   The General Assembly ignored the testimony of parents pleading for it not to risk

their children's health and survival by stripping them of the medical care that has enabled them to

thrive.

          54.   Not only did the General Assembly ignore established medical standards by

passing the Health Care Ban, the majority of both chambers passed resolutions expressing their

view that "gender reassignment medical treatments" are not "natural." HR 1018, SR 7.

          55.   Some members of the General Assembly further expressed their personal beliefs in

opposition to gender-affirming care that had nothing to do with the purported medical concerns

enumerated in the Health Care Ban's legislative findings. Rep. Bentley, for example, stated that

"Father God, our Creator, has some very important things that he would like to say about [the

Health Care Ban]," and that it is "impossible to govern the world without God and the Bible."

Rep. Bentley went on to quote Biblical passages in support of the bill, including "a woman shall

not wear anything that pertains to a man, nor a man put on a woman's garments, for all who do so

are an abomination to the Lord your God." Rep. Wooten, when addressing the bill, stated that




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"God made you like you are," and "this nation is based on God's word." Rep. Wooten compared

transgender youth to a child who "comes to you and says, 'I wanna be a cow."'

        56.    On April 5, 2021, Governor Hutchinson vetoed the Health Care Ban "because it

creates new standards of legislative interference with physicians and parents as they deal with

some of the most complex and sensitive matters concerning our youths." Governor Hutchinson

explained that "[the Health Care Ban] puts the state as the definitive oracle of medical care,

overriding parents, patients and healthcare experts" which "would be-and is-a vast government

overreach." Governor Hutchinson further noted that "[t]he leading Arkansas medical associations,

the American Academy of Pediatrics and medical experts across the country all oppose this law"

because "denying best practice medical care to transgender youth can lead to significant harm to

the young person-from suicidal tendencies and social isolation to increased drug use."

        57.    Within 24 hours, with a simple majority vote, the General Assembly overrode the

Governor's veto and the Health Care Ban passed into law. Only one senator was allowed to speak

in support of the Governor's veto before debate was terminated, over objection, by a motion for

immediate consideration, and the Senate voted to override the veto.

        58.    The Health Care Ban was part of a barrage of bills in the Arkansas General

Assembly targeting transgender people during the 2021 legislative session.

        59.    SB 347 would have made it a felony for a healthcare provider to provide "gender

transition services" to anyone under 18 years of age.

        60.    There were two bills and a proposed constitutional amendment to ban transgender

students from participating in school sports. Both bills passed and were signed into law. See

SB 354 (sports ban which passed and is now Act 461), SB 450 (additional sports ban now Act

953).



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       61.     Another bill-HB 1749-would have provided that employees of public schools

and colleges are not "required to use a pronoun, title, or other word to identify a ... student as

male or female that is inconsistent with the ... student's biological sex."

       62.     There were also bills aimed at shielding students from hearing about transgender

people. SB 389, which was enacted as Act 552, provides that parents be given notice and a right

to opt their children out of any curriculum or school materials related to sexual orientation or

gender identity (as well as sex education). Moreover, SR 7 included a provision that "every child

deserves an education ... free of ... politicized ideas about sexual orientation and gender identity."

       63.     Other bills would have barred transgender people from using restrooms or other

facilities that accord with their gender identity in schools and other public buildings. See HB 1882,

HB 1905, and HB 1951.

        64.    The General Assembly's passage of the Health Care Ban had nothing to do with

protecting children and everything to do with expressing disapproval of trans gender people.

        C.      The Impact of the Health Care Ban on Plaintiffs

                1.      The Minor Plaintiffs and Their Families

                       (1)      The Brandt Family

        65.     Dylan Brandt is about to finish his freshman year of high school, where his favorite

subject is psychology. Outside school, he likes spending time on TikTok, a social media platform,

where he makes short videos lip-synching to songs and shares motivational sentiments.

        66.     Dylan is transgender. When he was born, he was designated as female on his birth

certificate but his gender identity is male.

        67.     Dylan knew from a young age that he did not feel comfortable with his gender. In

seventh grade he cut his hair short and started exclusively dressing in gender-neutral clothing. By

the end of seventh grade, Dylan knew he was a boy and came out to his mother as transgender.

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Dylan started his social transition that summer. He chose the name Dylan and started eighth grade

with his new name and using male pronouns. Since then, everyone who knows the Brandts in

Greenwood recognizes Dylan as the boy he is.

        68.     Although Joanna, Dylan's mother, was initially surprised when Dylan told her he

is a boy, it made sense to her upon reflection. Dylan had "rejected all things feminine" from the

moment he could make decisions about his life. He had also been experiencing depression as well

as anxiety in social situations.

        69.     Joanna consulted Dylan's pediatrician about his realization that he was transgender

and he was referred to the Gender Spectrum Clinic, where he had his first visit in January 2020.

During that visit, he was diagnosed with gender dysphoria. Dylan began receiving Depo-Provera

to stop menstruation.

        70.     In August 2020, Dylan began treatment with testosterone, which has been

transformative for him. He has become a happy, confident teenager. He embraces social situations

that he would have avoided in the past. Dylan's depression and anxiety substantially decreased.

As a result of the hormone therapy, Dylan's voice has dropped, he started growing facial hair, and

his body started to change in ways typical of a male puberty. These changes have caused Dylan

to feel more comfortable in his own skin. According to Joanna, Dylan's "eyes light up" when

people recognize and affirm his male gender. Dylan's social transition and medical treatment have

allowed him to be affirmed in all aspects of his life.

        71.     Dylan's name was legally changed in August 2020, and his birth certificate was

updated to reflect the legal name change.

        72.     The prospect of losing access to gender-affirming medical care has caused both

Dylan and Joanna tremendous stress. Dylan has been on hormone therapy for over nine months.



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The Brandts were informed at the inception of his treatment that abruptly stopping hormone

therapy would be detrimental to Dylan's health.

       73.     Joanna is also concerned about her son's mental health should his treatment be cut

off. Joanna fears Dylan will lose the happiness and self-confidence that he has experienced

because of treatment, and is worried that Dylan's depression will return if his care is cut off and

his body begins to undergo permanent changes from the initiation of his endogenous puberty.

       74.     The Brandts have deep ties to Greenwood. They have a community of friends and

family there. Joanna owns her home and a business. Because she fears for her son's safety and

well-being should his healthcare be cut off, to ensure that Dylan can continue his treatment, Joanna

is considering moving to another state if the Health Care Ban goes into effect.

                       (2)     The Jennen Family

        75.     Sabrina Jennen is a high school sophomore and a dedicated student who made it to

the national championships for Quiz Bowl, an academic trivia competition. Sabrina plays violin

and acoustic guitar, earned a black belt in Taekwondo, and enjoys gaming with her friends. After

high school, Sabrina plans to attend college to study medical or environmental sciences.

        76.     Sabrina is transgender. When she was born, she was designated as male on her

birth certificate but her gender identity is female.

        77.     Sabrina began to realize her gender identity in late 2019 and came out to her family

in July 2020. Lacey and Aaron, Sabrina's parents, found a therapist for Sabrina, who diagnosed

her with gender dysphoria.

        78.     Since coming out to her family and friends, Sabrina started using female pronouns,

wearing feminine clothing, and growing her hair. Sabrina plans to legally change her name this

summer so that it will appear on her driver's license when she is old enough to get one.



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       79.     In or around January 2021, with her parents' support, Sabrina began gender-

affirming hormone therapy. She was prescribed a testosterone suppressant and estrogen to initiate

puberty consistent with her gender identity. The treatment has been life-changing for her. Before

treatment, Sabrina could not see a future for herself. She experienced depression, struggled to

sleep, and engaged in self-harm. There were times her parents were worried about her being left

alone. Since starting hormone therapy, Sabrina has become genuinely happy and confident for the

first time since she can remember. Sabrina's depression has subsided; she has not engaged in self-

harm and she has become more engaged with her family.

       80.     The prospect oflosing access to her medical care causes Sabrina and her parents to

feel extremely anxious and terrifies them. If her treatment is stopped, Sabrina worries that the

dysphoria, depression, and anxiety will recur. Her parents fear for her survival if the medical

treatment that has sustained her is cut off. They cannot bear to lose the happy and thriving daughter

that Sabrina has become, nor can they return to constant concern over her safety. As Aaron put it,

"We can't go back."

       81.     The Jennens love their Fayetteville community. Sabrina has a robust network of

friends, family, educators, and a church community that supports her that would be difficult, if not

impossible, to replace.     Sabrina's sisters are also deeply connected to their school and

community-one is on her school cheerleading squad and competes on the track team and in Quiz

Bowl competitions; the other takes ice skating lessons and loves school and the friends she has

made there. Lacey and Aaron are lifelong residents of Arkansas, and graduates of the University

of Arkansas at Fayetteville. Lacey is engaged with her local church community and serves on the

Urban Forestry Board for the City of Fayetteville. Aaron's job as a government lawyer is based




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in Fayetteville. Lacey's and Aaron's parents and several of their siblings and their families live

close by in Northwest Arkansas. All of their extended family live in Arkansas.

        82.     Lacey and Aaron want to continue to raise their children in Fayetteville and do not

want to leave, but if the Health Care Ban takes effect, they understand that they might have to

leave to keep Sabrina healthy and safe.

                        (3)     The Dennis Family

        83.     Brooke Dennis is in third grade and loves to read and write in her virtual diary. She

takes gymnastics and wants to be a gymnast when she grows up. Brooke likes jumping on the

trampoline in her backyard and can do backward somersaults.

        84.     Brooke is transgender. When Brooke was born, she was designated as male on her

birth certificate, but her gender identity is female.

        85.     Although Amanda and Shayne, Brooke's parents, did not discuss Brooke's female

gender with her until last year, as Amanda describes it, "Brooke always knew who she was." From

the time she was 2 years old, Brooke gravitated towards all traditionally feminine activities.

Brooke would often put a shirt on her head to create long "hair" for herself, and around the

holidays, Amanda and Shayne could never keep the Christmas tree skirt on the tree because Brooke

would take it off and wear it. Brooke's parents were buying her traditionally boys' clothes, but

when she was 4 years old, her grandma bought her colorful sneakers from the girls' section of the

store. From then on, Brooke chose to wear only traditionally feminine clothing.

        86.     It is confusing for Brooke that others have not always recognized her as she

recognizes herself, and it causes her extreme distress. For example, one Halloween, when Brooke

was in second grade, Amanda and Shayne took Brooke to the store and told her she could choose

a costume, but Brooke was paralyzed by anxiety. Brooke knew what she wanted-the costumes



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in the girls' section-but she was fearful of what people would say if she picked one of the

costumes designated for girls. The situation was even more difficult at school. Brooke felt

distressed when the teacher would line up the boys and the girls for bathroom breaks and she would

be asked what she was doing in the boys' restroom, and when Brooke's classmates would debate

whether she is a boy or a girl. Brooke frequently came home from school crying and started to act

out. She started seeing the school counselor regularly in the 2019-20 school year.

       87.     In April 2020, a photographer came to the house to take family portraits. During

the photoshoot, the photographer used female pronouns with Brooke, and Amanda and Shayne

noticed that Brooke did not correct the photographer. After the photo shoot, Amanda asked Brooke

how that made her feel. Brooke told her that she liked it and would prefer if people used female

pronouns. Her parents told her that would be fine, and Brooke declared, "I am Brooke and I'm a

she." As Shayne put it, "It was as if a cloud lifted and the smile came back."

       88.     Since then, she is known as Brooke and is referred to by female pronouns at home,

by her grandparents, at school, and in the community. Brooke has returned to being the happy,

bright-eyed child she used to be. Amanda and Shayne were relieved that Brooke's distress was

behind her and their child was once again flourishing.

       89.      After the conversation about pronouns last April, Amanda and Shayne had Brooke

begin therapy with a counselor experienced with youth experiencing an incongruence between

their gender and assigned sex at birth. The counselor diagnosed Brooke with gender dysphoria in

June 2020, and referred the family to the Gender Spectrum Clinic at Arkansas Children's Hospital.

       90.     Brooke and her parents went to the Clinic in October 2020. They were provided

information about gender dysphoria and the standards of care for treatment. The doctor told

Amanda and Shayne to closely watch Brooke for signs of puberty, and advised that puberty-



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delaying treatment could begin at the onset of puberty. Brooke and her parents will have regular

check-in appointments with the Clinic to monitor her development.

         91.   At 9 years of age, puberty could begin for Brooke at any time. Brooke is already

anxious about the prospect of going through a typical male puberty. Brooke openly worries about

how her body is different than the girls at school. Brooke has observed the changes her older

brother is going through and recently cried and told her mom that she didn't want to get an Adam's

apple.

         92.   Because Brooke is already so anxious about puberty, when Brooke starts puberty

Amanda and Shayne plan to start her on puberty-delaying treatment, which her doctors confirm

would be medically indicated. They feel this is critical to prevent the distress of going through a

typical male puberty and to give the family time to assess whether gender-affirming hormone

therapy will be medically necessary to keep Brooke healthy.

         93.   Amanda and Shayne are worried about not being able to obtain puberty-delaying

treatment for Brooke when her endogenous puberty begins. In the short-term, Amanda and Shayne

have explored their options for flying out-of-state for treatment. However, this is not a sustainable

option financially. Further, the Health Care Ban would prevent Brooke's physicians from referring

her to a doctor in a state where gender-affirming care is not prohibited.

         94.   Amanda and Shayne's only other option is to move out-of-state, and they will do

so if necessary to get the treatment Brooke needs. But moving would impose significant hardship

on the Dennis family. They have all developed close friendships in the community and the

children's schools, and Amanda's job in leadership development at Walmart, is in Bentonville.

They would also be moving away from Shayne's elderly parents for whom they provide supportive




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care. Amanda and Shayne will do what is necessary to protect Brooke's health and well-being,

but they believe that they should not be forced to leave their state to do so.

                        (4)     The Saxton Family

       95.      Parker Saxton is a sophomore in high school. Parker sings in the school choir and

is learning how to play the guitar.

       96.      Parker is transgender. When he was born, he was designated as female on his birth

certificate but his gender identity is male.

        97.     When Parker was around 13 years old, he came out to his father as trans gender in

a letter. Parker asked his dad to refer to him by male pronouns and to call him by a typically male

version of his birth name. He later chose the name Parker. Donnie was not surprised when he

received the letter. Parker had already taken steps to change his appearance-he had cut his hair

short when he was 11 years old, and, starting in the seventh grade, dressed exclusively in clothes

traditionally viewed as masculine. Donnie could see that Parker was uncomfortable in his body-

Parker had been struggling since pre-school when he would tell Donnie he did not want to be a

girl, and, for as long as Donnie can remember, Parker experienced debilitating anxiety about

having to use public restrooms. As Parker started puberty, it distressed him seeing his body change

in ways that felt even more divergent from his gender identity.

        98.     Donnie has not always understood what it means to be transgender and did not

always support transgender rights. But as Donnie watched Parker suffer, and as he started to learn

more and understand Parker's feelings, his views shifted. As Donnie put it, "I wish that I could

say that my child has spent their entire life being comfortable in their skin, but that's just not true

for Parker." It took Donnie some time to get used to using male pronouns with Parker. But now




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they flow easily for him as he sees Parker as "my little dude." Donnie is proud and supportive of

his son.

       99.        After Parker came out as transgender, he took further steps to socially transition.

He started introducing himself with a male name and asked that he be referred to by male pronouns.

Parker has gradually come out as transgender to his school choir community.                 At a choir

performance, he wore a tuxedo.

           100.   Though taking steps to socially transition helped Parker feel more like himself, he

continued to struggle with gender dysphoria. Parker began wearing four or five sports bras at a

time in an effort to change the physical appearance of his body; he feels uncomfortable getting out

of the shower and viewing himself in a mirror, and he refuses to participate in activities that would

require him to wear a bathing suit. As Donnie put it, Parker ''just wants to look in the mirror and

see the person that he is on the inside staring back at him so that he can go about his day."

           101.   Parker asked Donnie to take him to receive medical care to change his physical

appearance to match his male gender. In 2019, Donnie took Parker to the Gender Spectrum Clinic.

There, Parker was diagnosed with gender dysphoria. One of the first steps Parker's doctors

recommended was that he be treated with Depo-Provera to stop menstruation. Parker has been

getting that treatment since the fall of 2019.

           102.   Parker's mental health greatly improved after he started receiving healthcare to treat

his gender dysphoria. As a result, he was able to stop taking the Zoloft that he had been taking to

manage his anxiety and depression.

           103.   Because Parker responded so well to receiving this treatment, and because his

understanding of his male gender has been persistent and consistent, Parker's doctor agreed with




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Parker and Donnie that Parker would benefit from starting testosterone. Parker is scheduled to

begin receiving testosterone injections at the end of this month.

       104.    After making great strides as a result of his treatment, Parker's anxiety worsened

when he learned about the General Assembly's effort to pass the Health Care Ban, and he had to

resume taking medication for anxiety. The passage of the Health Care Ban was devastating to

him. Donnie began sleeping on the couch close to Parker's bedroom because Parker's sleep has

been disturbed, and Donnie wants to be available to provide emotional support in the event he

needs it. Parker and Donnie worry about the physical and mental health consequences ofbeginning

testosterone and then having to stop. But not taking testosterone is not an option given Parker's

severe dysphoria.

       105.    If the Health Care Ban goes into effect, the Saxtons would explore leaving the state

so that Parker can receive the treatment that he, his father, and his doctors all agree is necessary.

But this would be difficult for the family. Donnie, who is a plumber, has a business in Conway.

Moving would jeopardize the family's financial stability. It would also separate the family from

Donnie's parents-with whom they have a close, supportive relationship--and other relatives.

The Saxton family has been part of their community all of their lives. Donnie feels that because

everyone knows Parker, he is safe there, and Donnie worries about having to go elsewhere. Donnie

thinks it is wrong that the General Assembly is making it so hard for him to take care of his son.

               2.      Doctor Plaintiffs

                       (1)     Dr. Michele Hutchison

       106.    Dr. Hutchison graduated from medical school at the University of Texas

Southwestern Medical School in 1999. Following medical school, Dr. Hutchison completed




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residency and fellowship programs in Endocrinology at the University of Texas Southwestern

Medical School in 2002 and 2004, respectively.

       107.    Dr. Hutchison is a pediatric endocrinologist and Associate Professor in the

Department of Pediatrics, College of Medicine at the University of Arkansas for Medical Sciences,

where she treats youth with a variety of endocrine conditions. Since 2018, she has also been

treating patients at the Arkansas Children's Hospital's Gender Spectrum Clinic, which provides

healthcare to transgender youth with gender dysphoria.

       108.    The Clinic treats patients in accordance with the standards of care developed by

WP ATH and the Endocrine Society. The Clinic has an interdisciplinary team, including mental

health providers, to ensure each child receives appropriate and necessary care.

       109.    Dr. Hutchison has treated about 200 youth at the Clinic since its opening. There

are around 160 patients currently under the Clinic's care.

       110.    At the Clinic, Dr. Hutchison provides puberty-delaying treatment for trans gender

patients with gender dysphoria at the onset of puberty when medically indicated. This treatment

pauses puberty and provides the patient and their family more time to determine the long-term

course of treatment. Such treatment also prevents patients from suffering the severe emotional

and physical consequences of going through puberty that does not match their gender identity.

       111.    For patients whose gender identity has been persistent and consistent, Dr.

Hutchison will explore gender-affirming hormone therapy (estrogen and testosterone suppression

for transgender girls; testosterone for transgender boys) with patients and their families, beginning

around the age of 14, and initiate such treatment if medically indicated. There are no medical

treatments indicated or provided for pre-pubertal children with gender dysphoria.




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        112.   The same treatments Dr. Hutchison provides to her transgender patients at the

Clinic-puberty-delaying medication, testosterone, estrogen, and testosterone suppressants-she

also provides to non-transgender patients. In her general pediatric endocrinology practice, Dr.

Hutchison provides puberty-delaying treatment to non-transgender children with precocious

puberty. She provides testosterone to non-transgender boys with delayed puberty or who have

insufficient testosterone for a variety of reasons. Dr. Hutchison provides estrogen to treat non-

transgender girls with primary ovarian insufficiency or Turner's Syndrome. And she provides

testosterone suppressants to treat non-transgender girls with polycystic ovarian syndrome. If the

Health Care Ban takes effect, Dr. Hutchison will be prohibited from providing these treatments to

her transgender patients because they relate to "gender transition," but she will be able to continue

providing the same treatments to her non-transgender patients to help bring their bodies into

alignment with their gender.

        113.   When Clinic patients inform Dr. Hutchison that they are moving out of state, she

will provide them information about clinics in their new state that provide gender-affirming

medical care for transgender adolescents. Dr. Hutchison considers it part of her obligation to care

for her patients to help them find the care they need if she is unable to continue providing such

care.

        114.   Given the administrative and civil penalties attached to the Health Care Ban, if it

takes effect, Dr. Hutchison will not be able to treat her transgender patients with gender dysphoria

in accordance with the accepted standards of care. If she were to follow the medically indicated

protocols for treating gender dysphoria, she would face adverse licensing action or other judicial

or administrative consequences. Moreover, Dr. Hutchison is concerned that if the Health Care

Ban goes into effect, the Gender Spectrum Clinic might have to close.



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       115.      Dr. Hutchison knows from personal experience in treating hundreds of adolescents

with gender dysphoria that the Health Care Ban, if permitted to take effect, will significantly and

severely compromise the health of her patients. As Dr. Hutchison testified before the Senate Public

Health and Labor Committee on March 22, 2021, she "had multiple kids in [the] emergency room

because of an attempted suicide" after the Health Care Ban passed out of the House. After the law

was passed, her office received calls from numerous families panicking because their children

were expressing suicidal thoughts related to the prospect of losing the healthcare they rely on for

their well-being.

        116.     Being forced to deny her patients medically necessary care that can be lifesaving

for some patients violates the tenets of Dr. Hutchison's profession by leaving them to suffer

needless pain.

        117.     Dr. Hutchison has grave concerns about her patients' ability to survive, much less

thrive, if the Health Care Ban takes effect.

        118.     Dr. Hutchison is bringing her claims in her individual capacity on behalf of herself

and her patients.

                        (2)     Dr. Kathryn Stambough

        119.     Dr. Stambough graduated from medical school in 2011 and completed a residency

in Obstetrics and Gynecology in 2015 at Washington University in Saint Louis. She completed a

fellowship at Baylor College of Medicine/Texas Children's Hospital that focused on Pediatric and

Adolescent Gynecology. During her residency and fellowship programs, Dr. Stambough trained

in the provision of hormone therapy to treat various conditions, including gender dysphoria.

        120.     Dr. Stambough is a pediatric and adolescent gynecologist at the University of

Arkansas for Medical Sciences. For the past year, Dr. Stambough has also been attending one day



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per month at the Gender Spectrum Clinic. As part of her work at the Clinic, Dr. Stambough

provides gender-affirming hormone therapy when medically indicated for patients with gender

dysphoria diagnoses beginning around the age of 14.

       121.    The same treatments Dr. Stambough provides to her transgender patients at the

Clinic, she also provides to non-transgender patients. In her pediatric gynecology practice, Dr.

Stambough provides estrogen to non-transgender girls for a range of conditions, such as primary

ovarian insufficiency, hypogonadotropic hypogonadism, and Turner's Syndrome. Dr. Stambough

also prescribes puberty-delaying medication for non-transgender patients undergoing precocious

puberty. She uses that same medication-GnRH agonist-to treat other conditions, including

endometriosis. In addition, Dr. Stambough provides other forms of hormone therapy to treat

polycystic ovarian syndrome; menstrual issues including painful, irregular or heavy periods; and

for menstrual suppression for patients with many conditions including cancer and spinal cord

disorders, as well as transgender boys with gender dysphoria.

       122.    When Dr. Stambough sees patients in her gynecology practice who present signs

of gender dysphoria, she refers them to the Gender Spectrum Clinic. Her ability to make these

referrals is essential for her to connect her patients with appropriate and necessary care.

       123.    Given the penalties attached to the Health Care Ban, if it takes effect, Dr.

Stambough will not be able to provide gender-affirming medical care to her patients in accordance

with the accepted standards of care. Nor will she be permitted to refer patients in her pediatric

gynecology practice for such care. If she were to do so, she would face adverse licensing action

or other judicial or administrative consequences. Moreover, Dr. Stambough is concerned that if

the Health Care Ban goes into effect, the Gender Spectrum Clinic might have to close.




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          124.   Being forced to withhold referrals from patients at her pediatric gynecology

practice, and to deny her patients at the Clinic medically necessary care that can be lifesaving for

some patients, violates the tenets of Dr. Stambough's profession by leaving her patients to suffer

needless pain.

          125.   Dr. Stambough worries greatly about the impact on her patients if they cannot

access the medically necessary and lifesaving treatment prohibited by the Health Care Ban.

          126.   Dr. Stambough is bringing her claims in her individual capacity on behalf of herself

and her patients.

V.        THERE ARE NO LEGITIMATE JUSTIFICATIONS FOR THE HEALTH CARE
          BAN

          127.   The Health Care Ban establishes a complete ban on well-established medical

treatments for minors when, and only when, they are provided to transgender youth for the purpose

of "assisting an individual with a gender transition."

          128.   In relevant part, the Health Care Ban provides that "[a] physician or other

healthcare professional shall not provide gender transition procedures to any individual under

eighteen (18) years of age." HB 1570 § 3, 20-9-1502(a). The Health Care Ban also prohibits

Medicaid or private insurance coverage for minors receiving such care. HB 1570 § 4, 23-79-

164(b).

          129.   The Health Care Ban defines "gender transition" as "the process in which a person

goes from identifying with and living as a gender that corresponds to his or her biological sex to

identifying with and living as a gender different from his or her biological sex, and may involve

social, legal, or physical changes." HB 1570 §3, 20-9-1501(5).

          130.   The "gender transition procedures" prohibited by the law are defined as "any

medical or surgical service ... related to gender transition that seeks to ... [a]lter or remove


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physical or anatomical characteristics or features that are typical for the individual's biological

sex" or "[i]nstill or create physiological or anatomical characteristics that resemble a sex different

from the individual's biological sex, including without limitation medical services that provide

puberty-blocking drugs, cross-sex hormones, or other mechanisms to promote the development of

feminizing or masculinizing features in the opposite biological sex, or genital or nongenital gender

reassignment surgery performed for the purpose of assisting an individual with a gender

transition." HB 1570 §3, 20-9-1501(6).

         131.   While the Health Care Ban prohibits the use of well-established treatments for

gender dysphoria in trans gender adolescents-including puberty-delaying drugs, hormone therapy

(testosterone for transgender boys, and estrogen and testosterone suppressants for transgender

girls), and chest surgery-because these treatments are provided for the purpose of assisting

"gender transition," it permits the use of these same treatments for any other purpose.

         132.   The puberty-delaying drugs proscribed by the Health Care Ban for the treatment of

gender dysphoria because they assist with "gender transition" are the same drugs that are

commonly used to treat central precocious puberty. Central precocious puberty is the premature

initiation of puberty-before 8 years of age in people assigned female at birth and before 9 years

of age in people assigned male-by the central nervous system.               When untreated, central

precocious puberty can lead to impairment of final adult height as well as antisocial behavior and

lower academic achievement. The Health Care Ban permits puberty-delaying treatment for central

precocious puberty because it is not provided for purposes of assisting with "gender transition";

that is, it is not prescribed to affirm a person's gender identity different from their sex assigned at

birth.




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       133.    The Health Care Ban prohibits hormone therapy when the treatment is used to assist

with "gender transition," but the same hormone therapy is permitted when prescribed to non-

transgender patients to help bring their bodies into alignment with their gender. For example, non-

transgender boys with delayed puberty may be prescribed testosterone if they have not begun

puberty by 14 years of age. Without testosterone, for most of these patients, puberty would

eventually initiate naturally. However, testosterone is prescribed to avoid some of the social

stigma that comes from undergoing puberty later than one's peers and failing to develop the

secondary sex characteristics consistent with their gender at the same time as their peers. Likewise,

non-transgender girls with primary ovarian insufficiency, hypogonadotropic hypogonadism

(delayed puberty due to lack of estrogen caused by a problem with the pituitary gland or

hypothalamus), or Turner's Syndrome (a chromosomal condition that can cause a failure of ovaries

to develop) may be treated with estrogen. And non-transgender girls with polycystic ovarian

syndrome (a condition that can cause increased testosterone and, as a result, symptoms including

facial hair) may be treated with testosterone suppressants. The same treatments that are permitted

for non-transgender minors--often to affirm their gender-are banned if provided to transgender

minors for the same reason.

        134.   The Health Care Ban prohibits chest surgery on transgender young men to treat

gender dysphoria because it assists with "gender transition," but minors are permitted to undergo

comparable surgeries. For example, non-transgender adolescent boys can have surgery to treat

gynecomastia-the proliferation of ductal or glandular breast tissue, as opposed to adipose tissue,

in individuals assigned male at birth. And non-transgender adolescent girls can have breast

reconstruction surgery, including to address conditions such as breast hypoplasia: a lack of breast

development in people assigned female at birth. These kinds of surgeries are commonly performed



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to reduce psychosocial distress, often related to the incongruence with one's gender. Therefore, a

transgender boy assigned female at birth cannot receive chest-masculinizing surgery to affirm his

gender identity but a non-transgender boy can. Likewise, a transgender girl cannot receive chest-

feminizing surgery to affirm her gender identity but a non-transgender girl can.

        135.   The legislative findings in the Health Care Ban cite an alleged lack of sufficient

evidence to support the banned treatments.          Specifically, the findings reference a lack of

randomized clinical trials on the use of hormone therapy to treat gender dysphoria. This purported

concern about the evidentiary basis for such treatment does not justify prohibiting it only when

used to provide gender-affirming care to treat transgender adolescents with gender dysphoria. The

very same evidence is deemed acceptable to provide the same treatments for any other purpose.

        136.   The absence of "randomized clinical trials" is no reason to discount the standards

of care recommended by major medical associations. Indeed, much of medicine is developed

without "randomized clinical trials." This criticism of treatment for gender dysphoria could be

extended to other essential care, including treatments that the law expressly permits.

        137.   There can be many reasons why conducting randomized trials is not necessary or

appropriate for evaluating a course of treatment. Clinical research focusing on children is less

likely to use randomized trials than is clinical research for adults and, it may, at times, be unethical

to conduct randomized trials. For randomized trials to be ethical, clinical equipoise must exist;

there must be uncertainty about whether the efficacy of the intervention or the control is greater.

That is not the case with respect to the medical protocols for treating adolescents with gender

dysphoria, which are known to provide significant relief to patients. It would be unethical to

knowingly expose some trial participants to an inferior intervention or to withhold treatment




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altogether. Accordingly, in the field of pediatrics, parents and their children must often make

decisions about medical care without the benefit of randomized trials.

       138.    One example of an accepted-and permitted-treatment that has not been tested

through randomized clinical trials is the use of puberty-delaying drugs to treat precocious puberty.

Even without randomized clinical trials, existing observational evidence is considered sufficiently

strong to establish the standard of care for treatment of central precocious puberty. The very same

treatment with the very same evidence permitted to treat central precocious puberty is prohibited

when used to assist transgender adolescents with "gender transition."

       139.    Similarly, there are no randomized clinical trials of genital surgery on minors with

intersex conditions. The Health Care Ban explicitly permits medical intervention, including

surgical intervention, when a minor has an intersex condition (referred to in the law as a "disorder

of sexual development"), despite the lack of such evidence and significant ethical concerns raised

by performing such procedures on infants too young to participate in the decision-making process.

HB 1570 § 3, 20-9-1501(6)(B)(i).

        140.   The General Assembly's purported interest in protecting minors from potential

risks associated with the prohibited medical care likewise cannot justify the Health Care Ban.

Under the Health Care Ban, the risks related to puberty-delaying drugs, hormone therapy, and

chest surgeries are acceptable when used to treat non-transgender youth for other purposes, but not

when used to treat gender dysphoria in transgender adolescents.

        141.   Every medical intervention carries potential risks and potential benefits. Weighing

the potential benefits and risks of the treatment for gender dysphoria is a prudential judgment

similar to other judgments made by healthcare providers, adolescent patients, and their parents.




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Adolescent patients and their parents often make decisions about treatments with less evidence

and/or greater risks than the treatment prohibited by the Health Care Ban.

       142.    The current standards of care for treating gender dysphoria in minors are consistent

with general ethical principles of informed consent. The Endocrine Society clinical practice

guidelines extensively discuss the potential benefits, risks, and alternatives to treatment, and its

recommendations regarding the timing of interventions are based in part on the treatment's

potential risks and the adolescent's decision-making capacity.

        143.   There is nothing unique about any of the medically accepted treatments for

adolescents with gender dysphoria that justify singling out these treatments for prohibition based

on concern about adolescents' inabilities to assent or their parents' inabilities to consent.

        144.   The Health Care Ban subjects medical care for transgender adolescents with gender

dysphoria to a double standard. The law singles out such care for sweeping prohibitions while

permitting the same medical treatments carrying the same potential risks when prescribed to treat

non-transgender patients for any other purpose.

        145.   The legislative findings claim "that studies consistently demonstrate that the

majority [of gender non-conforming children] come to identify with their biological sex in

adolescence or adulthood, thereby rendering most physiological interventions unnecessary." But

this reflects a complete misunderstanding of the treatment for gender dysphoria. No medical

treatments are indicated until adolescence. And the evidence is clear that when gender dysphoria

is present in adolescence, patients almost always persist in their gender identity in the long-term.

        146.   The goal of treatment for gender dysphoria is not to change someone's gender

identity; rather, it is to resolve the distress associated with the disconnect between their assigned




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sex at birth and their gender identity. Denying treatment to transgender adolescents will not cause

them to stop being transgender, but it will cause them to experience distress from lack of treatment.

VI.      THE HEALTH CARE BAN WILL CAUSE SEVERE HARM TO TRANSGENDER
         YOUTH

         147.   Withholding gender-affirming medical treatment from adolescents with gender

dysphoria when it is medically indicated puts them at risk of extreme harm to their health and well-

being.

         148.   Adolescents with untreated gender dysphoria suffer significant distress. Many are

on medication for depression and anxiety.       Self-harm and suicidal ideation are exceedingly

common. Suicidality among transgender young people is a crisis. In one survey, more than half

of transgender youths had seriously contemplated suicide. Studies have found that as many as

40% of trans gender people have attempted suicide at some point in their lives.

         149.   When adolescents are able to access puberty-delaying drugs and hormone therapy,

which prevents them from going through endogenous puberty and allows them to go through

puberty consistent with their gender identity, their distress recedes and their mental health

improves. Both clinical experience and medical studies confirm that for many young people, this

treatment is transformative, and they go from painful suffering to thriving.

         150.   If a healthcare provider is forced to immediately stop puberty-delaying drugs or

hormone therapy due to the Health Care Ban, it will cause patients to immediately resume their

endogenous puberty. This could result in extreme distress for patients who have been relying on

medical treatments to prevent bodily changes that come with their endogenous puberty. For a girl

who is transgender, this could mean that she would immediately start experiencing genital growth,

body hair growth, deepening of her voice and development of a more pronounced Adam's apple.

For a boy who is transgender, this could mean the initiation of a menstrual cycle and breast growth.


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These changes can be extremely distressing for a young person who had been experiencing gender

dysphoria that was relieved by medical treatments.

       151.    Additionally, the effects of undergoing one's endogenous puberty may not be

reversible even with subsequent hormone therapy and surgery in adulthood, thus exacerbating

lifelong gender dysphoria in patients who have this medically-indicated treatment withheld or cut

off. Bodily changes from puberty as to stature, genital growth, voice, and breast development can

be impossible or more difficult to counteract.

       152.    For patients who are currently undergoing treatment with gender-affirming

hormones like estrogen or testosterone, abruptly withdrawing care can result in a range of serious

physiological and mental health consequences. The body takes about six weeks to ramp up

endogenous hormones, so if a healthcare provider is forced to abruptly stop treatment, a patient

will be without sufficient circulating hormones at all. This can result in depressed mood, hot

flashes, and headaches. For patients on spironolactone-a testosterone suppressant-abruptly

terminating treatment can cause a patient's blood pressure to spike, increasing a young person's

risk of heart attack or stroke. The abrupt withdrawal of treatment also results in predictable and

negative mental health consequences including heightened anxiety and depression.

       153.    Prior to the Health Care Ban, none of the more than 200 youth who have been

treated by the Gender Spectrum Clinic had attempted suicide. In the weeks since the Health Care

Ban passed, six transgender adolescent patients have attempted suicide.

       154.    Gender-affirming medical care can be lifesaving treatment for minors experiencing

gender dysphoria. The major medical and mental health associations support the provision of such

care and recognize that the mental and physical health benefits to receiving this care outweigh the




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risks.    These groups include the American Academy of Pediatrics,3 American Medical

Association, 4 the Endocrine Society,5 the Pediatric Endocrine Society, 6 the American

Psychological Association,7 the American Academy of Family Physicians, 8 the American College

of Obstetricians and Gynecologists, 9 the National Association of Social Workers, 10 and WPATH. 11




3
         See Policy Statement: Ensuring Comprehensive Care and Support for Transgender and
         Gender Diverse Children and Adolescents, available at:
         https://pediatrics.aappublications.org/content/142/4/e20182162.
4
         See Resolution 122 (A-08), available at:
         http://www.tgender.net/taw/ama_resolutions.pdf.
5
         See Transgender Health, an Endocrine Society position statement, available at:
         https://www .endocrine.org/advocacy/position-statements/transgender-health.
6
         See The Pediatric Endocrine Society Opposes Bills that Harm Transgender youth,
         available at: https://pedsendo.org/news-announcements/the-pediatric-endocrine-society-
         opposes-bills-that-harm-transgender-youth-2/.
7
         See Position Statement on Access to Care for Transgender and Gender Diverse
         Individuals (2018), available at: https://www.psychiatry.org/File%20Library/About-
         AP NOrganization-Documents-Policies/Policies/Position-2018-Discrimination-Against-
         Transgender-and-Gender-Diverse-Individuals.pdf.
8
         See Resolution No. 1004 (2012), available at:
         http://www.aafp.org/dam/AAFP/documents/about_us/special_constituencies/20l2RCAR
         _ Advocacy.pdf.
9
         See Committee Opinion No. 823: Health Care for Transgender Individuals, available at:
         https://www.acog.org/clinical/clinical-guidance/committee-
         opinion/articles/2021/03/health-care-for-transgender-and-gender-diverse-individuals.
10
         See Transgender and Gender Identity Issues Policy Statement, available at:
         https://www .socialworkers.org/assets/secured/documents/da/da2008/reffered/Transgende
         r.pdf.
II
         See Position Statement on Medical Necessity of Treatment, Sex Reassignment, and
         Insurance Coverage in the USA (2016), available at:
         https://www.wpath.org/media/cms/Documents/Web%20Transfer/Policies/WPA TH-
         Position-on-Medical-Necessity-12-21-2016.pdf.


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VII.   CAUSES OF ACTION

                                           COUNT ONE
                      THE HEALTH CARE BAN VIOLATES THE
                    FOURTEENTH AMENDMENT'S GUARANTEE OF
                       EQUAL PROTECTION UNDER THE LAW
                        (MINOR AND DOCTOR PLAINTIFFS)


        155.   The Equal Protection Clause of the Fourteenth Amendment protects individuals and

groups from discrimination by the government.

        156.   The Health Care Ban harms transgender youth, including the Minor Plaintiffs and

the patients cared for by the Doctor Plaintiffs, by denying them medically necessary care and

insurance coverage for such care because of their sex and because of their transgender status.

        157.    Under the Equal Protection Clause of the Fourteenth Amendment, government

discrimination based on sex, including discrimination based on stereotypes associated with a

person's sex assigned at birth, is subject to heightened judicial scrutiny and is therefore

presumptively unconstitutional.

        158.    Under the Equal Protection Clause, government discrimination based on

transgender status is also subject to at least heightened scrutiny and is presumptively

unconstitutional.

        159.   Transgender people have obvious, immutable, and distinguishing characteristics

that define that class as a discrete group. These characteristics bear no relation to transgender

people's abilities to perform in, or contribute to, society.

        160.    Transgender people have historically been subject to discrimination, and remain a

very small minority of the American population that lacks political power.

        161.    The Health Care Ban bars the provision of various forms of medically necessary

care, and insurance coverage for such care, only when the care is related to a patient's "gender

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transition," which is defined as "the process in which a person goes from identifying with and

living as a gender that corresponds to his or her biological sex to identifying with and living as a

gender different from his or her biological sex." HB 1570 §3, 20-9-1501(5).

         162.   Treatment for gender dysphoria-a condition that only transgender people suffer

from-is always aimed at affirming a gender identity that differs from a person's assigned sex at

birth.

         163.   Under the Health Care Ban, the same medical treatments that are prohibited when

provided to transgender adolescents to help align their bodies with their gender identity may be

provided to non-transgender patients to help align their bodies with their gender identity, or for

any other purpose.

         164.   Under the Health Care Ban, the Doctor Plaintiffs are prohibited from providing

certain medically necessary care to their transgender adolescent patients that they are permitted to

provide to their non-transgender adolescent patients, and that doctors who do not treat transgender

adolescent patients are permitted to provide to all of their patients.

         165.   Under the terms of the Health Care Ban, whether or not a person can receive certain

medical treatments turns on their assigned sex at birth.

         166.   Under the terms of the Health Care Ban, whether or not a person can receive certain

medical treatments turns on whether they are transgender.

         167.   Under the terms of the Health Care Ban, whether or not a person can receive certain

medical treatments turns on whether the care tends to reinforce or disrupt stereotypes associated

with a person's sex assigned at birth.




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        168.    The Health Care Ban does nothing to protect the health or well-being of minors.

To the contrary, it gravely threatens the health and well-being of adolescents with gender dysphoria

by denying them access to lifesaving care.

        169.    The Health Care Ban is not substantially related to any important government

interest, nor is it rationally related to any legitimate government interest.

        170.    The Health Care Ban's targeted ban on medically necessary care provided for

transgender youth is based on generalized fears, negative attitudes, stereotypes, and moral

disapproval of transgender people that are not legitimate bases for unequal treatment under any

level of scrutiny.

        171.    Defendants are liable for their violation of the right to equal protection under 42

U.S.C. § 1983, and the Minor Plaintiffs and Doctor Plaintiffs are entitled to a declaratory judgment

that the Health Care Ban violates the Equal Protection Clause of the Fourteenth Amendment.

                                           COUNT TWO
                 THE HEALTH CARE BAN VIOLATES THE RIGHT TO
                  PARENTAL AUTONOMY GUARANTEED BY THE
                FOURTEENTH AMENDMENT'S DUE PROCESS CLAUSE
                            (PARENT PLAINTIFFS)

        172.    The Due Process Clause of the Fourteenth Amendment protects the fundamental

right of parents to make decisions concerning the care, custody, and control of their children.

        173.    That fundamental right of parental autonomy includes the right of parents to seek

and to follow medical advice to protect the health and well-being of their minor children.

        174.    Parents' fundamental right to seek and follow medical advice is at its apogee when

the parents, their minor child, and that child's doctor all agree on an appropriate course of medical

treatment.




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       175.     The Health Care Ban's prohibition against well-accepted medical treatments for

adolescents with gender dysphoria stands directly at odds with parents' fundamental right to make

decisions concerning the care of their children. The Health Care Ban barges into Arkansas

families' living rooms and strips Arkansas parents of the right to provide medical care for their

children.

       176.     The Health Care Ban does nothing to protect the health or well-being of minors.

To the contrary, it gravely threatens the health and well-being of adolescents with gender dysphoria

by denying their parents the ability to obtain lifesaving care for them.

        177.    The Health Care Ban's prohibition against the provision of medically accepted

treatments for adolescents with gender dysphoria is not narrowly tailored to serve a compelling

government interest; nor is it rationally related to any legitimate government interest.

        178.     Defendants are liable for their violation of the right to due process under 42 U.S.C.

§ 1983, and the Parent Plaintiffs are entitled to a declaratory judgment that the Health Care Ban

violates the Due Process Clause of the Fourteenth Amendment.

                                          COUNT THREE
                      THE HEALTH CARE BAN VIOLATES THE FIRST
                      AMENDMENT'S FREE SPEECH PROTECTIONS
                                 (ALL PLAINTIFFS)

        179.     The First Amendment's guarantee of the freedom of speech applies to the states

through the Fourteenth Amendment.

        180.     The speech restricted by the Health Care Ban is fully protected by the Free Speech

Clause of the First Amendment. The Doctor Plaintiffs have a First Amendment right to refer

patients for medically accepted treatments for gender dysphoria, and would continue to do so when

medically appropriate absent the Health Care Ban. The Minor Plaintiffs and Parent Plaintiffs have




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a First Amendment right to hear their doctors' medical recommendations, including their referrals

to other healthcare providers.

       181.    The Health Care Ban violates the First Amendment because it impermissibly

restricts what physicians and other healthcare providers can say about medically accepted

treatment for gender dysphoria. It prevents a "physician, or other healthcare professional" from

"refer[ring] any individual under eighteen (18) years of age to any healthcare professional for

gender transition procedures." HB 1570 § 3, 20-9-1502(b).

       182.    The Health Care Ban's referral prohibition prevents healthcare professionals from

speaking about medical treatments only in certain instances, specifically with respect to referring

transgender patients under 18 years of age for such procedures when they are for the purpose of

"gender transition." Healthcare professionals are permitted to refer non-transgender patients for

the same treatments when for purposes other than gender transition.

       183.    The Health Care Ban is subject to strict scrutiny because it is neither viewpoint nor

content neutral.

       184.    The Health Care Ban discriminates on the basis of viewpoint by penalizing speech

only when that speech is related to care that would affirm a gender identity when that gender

identity is different from a person's assigned sex at birth. The law does not restrict speech related

to care that would affirm a gender identity that matches a person's assigned sex at birth.

       185.    The Health Care Ban discriminates on the basis of content because it penalizes

speech related to transgender patients, gender transition, and treatment for gender dysphoria, thus

penalizing healthcare professionals based on the content of their speech.

       186.    The Health Care Ban's referral prohibition cannot satisfy strict scrutiny, or any

other level of First Amendment scrutiny.



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       187.    Defendants are liable for their violation of the right to freedom of speech under 42

U.S.C. § 1983, and the Doctor, Minor, and Parent Plaintiffs are entitled to a declaratory judgment

that the Health Care Ban violates the Free Speech Clause of the First Amendment.

VIII. PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs respectfully pray that this Court:

                  1.   Enter a judgment declaring that the Health Care Ban violates the equal
                       protection clause, the right to parental autonomy guaranteed by the due
                       process clause, and the right to freedom of speech protected by the First
                       Amendment, and is therefore unenforceable;

                 ii.   Issue preliminary and permanent injunctions enjoining Defendants, their
                       employees, agents, and successors in office from enforcing the Health Care
                       Ban;

                111.   Award Plaintiffs their costs and expenses, including reasonable attorneys'
                       fees, pursuant to 42 U.S.C. § 1988; and

                1v.    Grant such other relief as the Court deems just and proper.




Dated: May 25, 2021                          Respectfully submitted,




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